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IN THE UNITED sTATEs DISTRICT coURT
FOR THE WESTERN DISTRICT OF TENNESGE§UGZg PH 5:09
WESTERN DIVISION .
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LARRY STEVE MELTON, et al.,
Plaintiffs,
vs. Civ. No. 02-1152-B[P

BANK OF LEXINGTON, et al.,

Defendants.

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ORDER DENYING PLAINTIFF MELTON'S MOTION FOR THE REGIONAL DIRECTOR
OF THE FEDERAL DEPOSIT INSURANCE CORPORATION TO SHOW CAUSE AND
ALTERNATIVE MOTION TO COMPEL THE BANK OF LEXINGTON TO PRODUCE

BANK EXAMINES

 

Before the court is plaintiff Larry S. Melton's Motion for the
Regional Director of the Federal Deposit Insurance Corporation to
Show Cause and Alternative Motion to Compel the Bank of Lexington
to Produce Bank Examines, filed July 20, 2005 (dkt #627). On
August 25, 2005, the court held a hearing on the motion. Counsel
for all interested parties, including counsel for the FDIC, were
present and heard. For reasons stated in open eourt, the motion is
DENIED.

IT IS SO ORDERED.

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TU M. PHAM\
United States Magistrate Judge

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Date U \

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August 30, 2005 to the parties listed.

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US DISTRICT COURT

